 Case 16-90899        Doc 139      Filed 04/18/18 Entered 04/18/18 09:12:14             Desc Main
                                    Document     Page 1 of 4


                           UNITED STATES BANKRUPTCY COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS



IN RE:                                         )
                                               )
ROBERT WILLIAM WOODARD,                        )       No: 16-90899
                                               )       Chapter 7
                Debtor.                        )


  PETITION FOR ADJUDICATION OF CONTEMPT AGAINST RESPONDENTS,
ROBB J. PERRY AND LINDA S. PERRY, BRIAN O. WATSON AND ERICH P. NATHE

         NOW COMES Jeffrey D. Richardson, Chapter 7 Trustee, and for his Petition respectfully

states as follows:

         1.     The Debtor, Robert William Woodard, filed his Voluntary Petition for Relief under

Chapter 7 of the United States Bankruptcy Code on September 12, 2016.

         2.     The case was assigned to the Chapter 13 Trustee Marsh Combs-Skinner.

         3.     Prior to filing his bankruptcy case, the Debtor sustained injuries on or about October

31, 2012 at the premises which he claims was owned and operated by the Respondents herein, Robb

J. Perry and/or Linda S. Perry in Mattoon, Illinois.

         4.     Also prior to filing this bankruptcy case, the Debtor filed suit against Robb J. Perry

and Linda S. Perry in the Circuit Court of the Coles County, Illinois on January 20, 2016 in Case No.

2016-L-14 alleging damages for his injuries in excess of $50,000.00. A copy of the Debtor’s

Complaint is attached hereto as Exhibit ?A” and is incorporated herein by reference.

         5.     The Coles County lawsuit was filed by the Debtor’s attorneys, Frederick & Hagle of

Urbana, Illinois.

         6.     The Debtor’s Chapter 13 Petition and Schedules do not disclose the Coles County
 Case 16-90899         Doc 139     Filed 04/18/18 Entered 04/18/18 09:12:14             Desc Main
                                    Document     Page 2 of 4


                                                  2

lawsuit as an asset.

       7.       This bankruptcy case was converted to a Chapter 7 case on September 21, 2017 and

I was appointed the Debtor’s Chapter 7 Trustee.

       8.       Following the Debtor’s Chapter 7 first meeting of creditors on November 17, 2017

in Paris, Illinois where the Debtor did disclose the lawsuit to me, I contacted attorney Pat Hanlon at

Frederick & Hagle and later made the determination on whether to administer the Coles County

lawsuit.

       9.       Thereafter, I filed an Application to Employ Mr. Hanlon and his firm on January 26,

2018 (Doc. 119) and that Application was granted by the Court in an Order entered by this Court on

February 12, 2018 (Doc. 123).

       10.      On February 16, 2018, the Respondents, Robb J. Perry and Linda S. Perry filed a

Motion for Summary Judgement seeking dismissal of the Coles County case in its entirety. A copy

of that Motion for Summary Judgment is attached hereto as Exhibit ?B” and is incorporated herein

by reference.

       11.      Among other matters, the Respondents Perry, through their attorneys, Brian O.

Watson and Erich P. Nathe, allege as undisputed facts to the State Court that this Court confirmed

the Chapter 13 Plan ?based upon Mr. Woodard’s false statements under oath”. (Motion par. 7) and

that ?[o]n January 26, 2018, the United States Bankruptcy Court of the Central District of Illinois

entered a discharge based upon Mr. Woodard’s false statements under oath”. (Motion par. 9)

       12.      The Respondents continue to pursue their Motion for Summary Judgment despite

being notified of the bankruptcy and notice of my opposition and insistence that they can only do so

if stay relief is sought and allowed by this Court.
 Case 16-90899        Doc 139      Filed 04/18/18 Entered 04/18/18 09:12:14            Desc Main
                                    Document     Page 3 of 4


                                                  3

         13.    The Respondents are in contempt of this Court and should be sanctioned by this

Court.

         WHEREFORE, Jeffrey D. Richardson, Chapter 7 Trustee, respectfully prays that:

         1.     That each of the Respondents each be held in civil contempt of this Court for

violation of the automatic stay.

         2.     That the Court make such Orders that are appropriate and just to remedy the violation

of the stay.

         3.     That the Respondents be sanctioned by the Court, including assessment of attorneys

fees and any damages incurred by the bankruptcy estate under 11 U.S.C. §105(a) and 11. U.S.C.

§362(k).

         4.     The costs of this contested proceeding be assessed against the Respondents.



                                              /s/ Jeffrey D. Richardson
                                              JEFFREY D. RICHARDSON
                                              Chapter 7 Trustee
                                              Registration No. 02330067
                                              132 South Water Street, Suite 444
                                              Decatur, IL 62523
                                              Telephone: 217/425-4082



                                   CERTIFICATE OF SERVICE

        The undersigned certifies that the above instrument was filed electronically with the Court
on April 18, 2018 and that he has determined that the following persons are registered with the Court
for electronic filing, and therefore, will be sent a copy of the pleading by the Court:

         U.S. Trustee
         Ms. Alyssa Marryn Delatte
         Ms. Cristina M. Manuel
 Case 16-90899        Doc 139      Filed 04/18/18 Entered 04/18/18 09:12:14              Desc Main
                                    Document     Page 4 of 4


                                                   4

        Mr. David R. Moore
        Mr. Evan Lincoln Moscov
        Ms. Amanda Wiese


                                                        /s/ Jeffrey D. Richardson



                                   CERTIFICATE OF SERVICE

        I certify that on April 18, 2018, at 5:00 p.m., I caused to be deposited a copy of the foregoing
in a U.S. Post Office box at Millikin Court, 132 South Water Street, Decatur, Illinois enclosed in an
envelope with proper postage prepaid, addressed to the following in the manner set forth:

        Robb J. Perry, Respondent               Linda S. Perry, Respondent
        1593 East County Road 250 North         1593 East County Road 250 North
        Mattoon, IL 61938                       Mattoon, IL 61938

        Brian O. Watson                        Erich P. Nathe
        Attorney for Respondents               Attorney for Respondents
        Three First National Plaza             Three First National Plaza
        70 W. Madison St., Suite 2900          70 W. Madison St., Suite 2900
        Chicago, IL 60602                      Chicago, IL 60602


                                                        /s/ Jeffrey D. Richardson
